               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


ADVANCED INSTRUCTIONAL SYSTEMS, )
INC., d/b/a WEBASSIGN,          )
                                )
               Plaintiff,       )
                                )
     v.                         )                 1:15CV858
                                )
COMPETENTUM USA, LTD.,          )
                                )
               Defendant.       )


                    MEMORANDUM OPINION AND ORDER

OSTEEN, JR., District Judge

     Advanced Instructional Systems, Inc. (“AIS”) has brought

suit against Competentum USA, Ltd. (“Competentum”), for theft of

trade secrets, copyright infringement, and computer trespass

among others.1 (See First Amended Complaint (“First Am. Compl.”)

(Doc. 10).) AIS does business as, and is the developer and owner

of WebAssign, a proprietary software suite used by universities

and other educational institutions to remotely assign and grade

problems in topics such as math, chemistry, and physics.

Essentially, AIS alleges that Competentum gained access to its

private servers through contracting relationships it and its


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      Plaintiffs also allege state law claims of conversion and
unfair and deceptive trade practices, however, given that those
are not discussed in their TRO motion, they are not addressed
here.




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predecessor entered into with AIS, and that it later used that

access to steal and/or reverse engineer proprietary software

code contained on that server.        AIS contends that Competentum

did this in order to develop its own rival version of WebAssign,

which AIS believes that Competentum wants to sell to Cengage

Learning, Inc. (“Cengage”), one of WebAssign’s biggest

customers.2      AIS argues that the grant of a Temporary Restraining

Order (“TRO”) and Preliminary Injunction is necessary to prevent

the deployment of Competentum’s rival software platform, the

loss of Cengage as a client, and irreparable damage to their

business interests.

       This court finds that AIS has met the requirements for a

TRO.       AIS has advanced evidence that (1) Competentum or

employees acting on Competentum’s behalf have repeatedly and

systematically accessed AIS’s secured server; (2) Competentum

has admitted to this access; (3) Competentum is working on

releasing a rival software suite similar to WebAssign; and (4)

planning materials found on the internet that involve the

development of this rival platform reference WebAssign’s



      AIS alleges that Cengage has made overtures to acquire AIS
       2

on multiple occasions specifically in order to acquire
WebAssign, and has been rebuffed, apparently motivating
Competentum to start down the current path in order to take
advantage of that opportunity.

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proprietary software architecture as well as terminology found

only in its proprietary Grading Statements, located on the

secure server.

I.   FACTS

     WebAssign in an employee-owned benefit corporation

organized under Virginia law, whose business provides online

instructional systems software that allows teachers to deploy

assignments and tests that are graded automatically.          (See First

Am. Compl. (Doc. 10) ¶ 8).      WebAssign uses proprietary software

of its own design in its grading engine, consisting in relevant

part of two components, known as “Parser” and “Grading

Statements,” respectively, both of which are written in a

programming code known as Perl.       (Id. ¶¶ 13, 15.)    Parser is a

software component that translates a user’s given answer into a

format that can be read by WebAssign’s third-party algebra

systems, and was developed over the course of 18 years. (Id.

¶¶ 17-19.) According to AIS, the code for parser is not

available even on their secured server,3 and is made available

only to a small number of WebAssign employees. (Id. ¶ 18.) A



     3
      WebAssign operates under a system whereby they utilize a
public outward facing server that contains the version of
WebAssign utilized by universities, and a private, inner facing
“editing” server, which is secured and allows users to modify or
edit sections of the software code.

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Grading Statement is a set of software instructions, again

written in Perl, which completes the assessment of a given

answer by combining the output given by Parser with the correct

answer from an answer key and grading accordingly.         (Id. ¶ 20.)

Grading Statements are copyrightable and original, and according

to WebAssign, have been developed over the course of many years.

(Id. ¶ 21.)    The code for the Grading Statements is not

available publicly (and according to AIS, the code for a Grading

Statement is not readily ascertainable through independent

development.)    (Id. ¶ 23.)   The code for the Grading Statements

is, however, available on the secured server. (Id. ¶ 27.)

    In 2006, WebAssign contracted with a predecessor of

Competentum, named Open Teach Software, Inc. (“Open Teach”), and

all work was completed under that contract in January 2009.

WebAssign contracted with Competentum in January 2012 and in

March 2012, and all work was completed under those contracts by

August 2012.    (First Am. Compl. (Doc. 10) ¶¶ 29-35.)       During the

course of this contracting, employees of both Open Teach and

Competentum were given access credentials to WebAssign’s secured

server, access that WebAssign contends was limited by the terms

of their agreements to the specifically defined work and were




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explicitly not to be used after the expiration of the contract

at issue. (Id. ¶ 37.)

     Sometime in April of 2014, as part of a routine review of

existing accounts, WebAssign discovered that two user IDs that

had been assigned as part of already completed work had been

used to access the secured server.4      (Id. ¶ 52.)    After closer

examination, WebAssign discovered that the secured server had

been systematically accessed since April 2014 by the accounts

issued to Mr. Alexander Krutik and another former contracted

employee, Michael Kuzmin, which had been inactive since 2009.

(Id. ¶¶ 54-56.)   WebAssign then deactivated accounts connected

with Competentum and Physicon Ltd. (Id. ¶ 57.) After

deactivation, a user attempted to log in to the secure server by

accessing five of the deactivated accounts within the course of

a few minutes. (Id. ¶ 62.)

     WebAssign contacted the CEO of Competentum, who admitted

that they had accessed the server, claimed that it was done as

part of a “content review” that had been commissioned by

Cengage, and promised to explain further, which apparently never

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      The two accounts at issue were assigned to Alexander
Krutik, who had been working for Open Teach, and to Nancy
Murphy, which had been issued in 2010 while Ms. Murphy was
working for a company named Physicon Ltd., which WebAssign
contends is an affiliate of Competentum. Ms. Murphy now works
for Competentum. (First Am. Compl. (Doc. 10) ¶ 52.)

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happened.5 (Id. ¶¶ 64-65.) WebAssign has analyzed the access to

the servers and the activity by the ID’s associated with

Competentum and contends that the accounts were attempting to

reverse-engineer (or “black box”) WebAssign’s Parser software by

running commands within the WebAssign system to test the

functionality of Parser.6    (Id. ¶ 59). WebAssign discovered notes

that had been left on the secured server by these accounts which

apparently confirm that testing was occurring. (Id. ¶¶ 60-61.)

     WebAssign has also discovered, via online searches, that

Competentum and Cengage are attempting to create a competitor to

WebAssign, and, according to WebAssign, materials that also

confirm the use of WebAssign’s proprietary material.         The

materials make reference to Grading Statements, reference

employees whose accounts were used to access the secured server

as helping to create the content, and refer to efforts to build

a Parser system.   (Id. ¶¶ 70-77.)

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      Apparently, the CEO of Cengage claimed that Competentum
had been hired to obtain a better understanding of some content
that WebAssign provides to Cengage. Webassign contends that
this content is provided open source to Cengage, and thus access
to the secured server would not have been necessary even
assuming this claim is true.
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      By repeatedly entering commands and modifying them
systematically, a user could theoretically examine the output
given by the system to gain an understanding of how Parser
functions, despite the code not being available on the secured
server.

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II.   ANALYSIS

      This court has jurisdiction over the parties pursuant to

28 U.S.C. §§ 1331 and 1332.

      Federal Rule of Civil Procedure 65(b) governs the

availability of a TRO to preserve the status quo until a hearing

on a motion for preliminary injunction can be held.           Hoechst

Diafoil Co. v. Nan Ya Plastics Corp., 174 F.3d 411, 422 (4th

Cir. 1999).    This court has the power to issue a TRO before

service of the defendant under Fed. R. Civ. P. 4.          See 3M Co. v.

Christian Invs. LLC, No. 1:11CV627, 2011 WL 3678144, at *3 (E.D.

Va. Aug. 19, 2011) (citing Internatio-Rotterdam, Inc. v.

Thomsen, 218 F.2d 514, 516 (4th Cir. 1955)).

      The requirements for obtaining temporary and preliminary

injunctive relief are the same.        See Rogers v. Stanback, No.

1:13CV209, 2013 WL 6729864, at *1 (M.D.N.C. Dec. 19, 2013)

(citing U.S. Dep’t of Labor v. Wolf Run Mining Co., 452 F.3d

275, 281 n.1 (4th Cir. 2006)).       In order to obtain a TRO, a

movant must establish: (1) that it is likely to succeed on the

merits of the dispute; (2) that it is “likely to suffer

irreparable harm” in the absence of a TRO; (3) that “the balance

of equities” tips in its favor; and (4) that an injunction is in

the public interest.      Winter v. Nat. Res. Def. Council, Inc.,



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555 U.S. 7, 20 (2008); Real Truth About Obama, Inc. v. Fed.

Election Comm’n, 575 F.3d 342, 346–47 (4th Cir. 2009), vacated

on other grounds, 559 U.S. 1089 (2010).

      A.    Likelihood of Success on the Merits

      WebAssign discusses three of its claims in its brief in

support of its motion.      Because this court finds, at this

preliminary stage, that the trade secrets claim and the trespass

claim support the issuance of a TRO, this order will analyze

only those claims for likelihood of success on the merits.

Plaintiff bears a heavy burden and must make “‘a clear showing’

that, among other things, it is likely to succeed on the

merits.” JAK Prods, Inc. v. Bayer, 616 F. App’x 94, at *95 (4th

Cir. 2015) (quoting Real Truth About Obama, Inc. v. FEC, 575

F.3d 342, 345 (4th Cir. 2009).

      Plaintiff bears a heavy burden and must “make a strong

showing of likelihood of success on the merits.”          Winter v.

Natural Res. Def. Council, Inc., 555 U.S. 7, 21 (2008).

            1.    Theft of Trade Secrets

      A trade secret is defined in N.C. Gen. Stat. § 66-152(3)
as:


      [B]usiness or technical information, including but not
      limited to a formula, pattern, program, device,
      compilation of information, method, technique, or
      process that:


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     a.   Derives independent actual or potential
          commercial value from not being generally known
          or readily ascertainable through independent
          development or reverse engineering by persons who
          can obtain economic value from its disclosure or
          use; and

     b.   is the subject of efforts that are reasonable
          under the circumstances to maintain its secrecy.

N.C. Gen. Stat. § 66-152(3).

     Here, it seems clear that the software code for Grading

Statements and Parser qualify as trade secrets.7 The code for

both has commercial value that derives from being proprietary

and not generally known8, and was on a secured server, with the

code for Parser not being available even on that.        As such, they

qualify as trade secrets.

     In order to succeed on a prima facie case for

misappropriation of a trade secret, Plaintiff must present

substantial evidence that “(1) defendant knows or should have

known of the trade secret; and (2) defendant has had a specific

opportunity to acquire the trade secret.”       Barr-Mullin Inc. v.



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      AIS also contends that the overall coding architecture of
the WebAssign system is a trade secret, but because it is not
relevant to the case (and it is not clear that AIS is actually
alleging it was stolen), it will not be addressed here.
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       This value is shown, at least in part, by Cengage’s
apparently repeated efforts to acquire AIS for the specific
purpose of obtaining the code for WebAssign.

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Browning, 108 N.C. App. 590, 596 (1993) (citing N.C. Gen. Stat.

66-155). Here, it seems that Plaintiff has clearly established

these elements.

    First, Plaintiff have proffered documented evidence that

Defendant knew of the trade secrets at issue in that they were

contracted to work on the server that contained them (and were

thus exposed to at least the Grading Statements), as well as

evidence that they are not only attempting to create their own,

but that they also have specifically and repeatedly referenced

proprietary terminology from the trade secrets at issue in their

internal materials, as well as attempted to break down and

replicate the WebAssign internal architecture. (See Decl. of

Elena Khvostova (“Khvostova Decl.”) (Doc. 13) ¶¶ 54-64.)

    As for the second prong, Plaintiff has offered ample

evidence that Competentum had a specific opportunity to acquire

those trade secrets.   Plaintiff has offered documented evidence

of repeated and systematic access of its secured server via the

use of former contractors that currently work for Competentum or

an affiliate, and on top of that, Competentum has admitted to

the access.   As such, this prong seems clearly met.       Given the

evidence presented, Plaintiffs have shown a likelihood of

success on the merits for their trade secrets claim.



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          2.   Computer Trespass

    WebAssign’s computer trespass claim is also likely to

succeed on the merits.    Under N.C. Gen. Stat. § 14-458, it is a

violation of the statute to use a computer or computer network

“without authorization,” and with the intent to do any of the

following:

    (3)   Alter or erase any computer data, computer
          programs, or computer software.

          . . . .

    (5)   Make or cause to be made an unauthorized copy, in
          any form, including, but not limited to, any
          printed or electronic form of computer data,
          computer programs, or computer software residing
          in, communicated by, or produced by a computer or
          computer network.

N.C. Gen. Stat. § 14-458.

    “[W]ithout authorization” is defined in the statute as

either when the person accessing “has no right or permission of

the owner to use a computer,” or “the person uses a computer in

a manner exceeding the right or permission.”       Id. (emphasis

added).

    Here, it seems clear that the employee accounts that were

used by Competentum’s employees to access the secured server

were used beyond the scope of the authorization granted.         Those

user IDs had been granted only for specific work over a specific



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timeframe (see First Am. Compl. (Doc. 10) ¶ 35), and the right

to use them expired when the work was completed in August 2012.

     WebAssign has further provided evidence that, while

accessing the server without permission, they altered and/or

erased data within the system, which constitutes the second

prong of Computer Trespass.     Given that they have what seems to

be evidence of unauthorized access, and alteration or deletion

of information during that access,9 Plaintiff has shown a strong

likelihood of success on Computer Trespass.

     Defendant has presented evidence of a defense to

Plaintiff’s claims which, if viable, might affect the foregoing

analysis.   However, at this preliminary stage, this court does

not find Defendant’s evidence compelling.

     Defendant argues that its access to Plaintiff’s

confidential information was authorized by Cengage, a third-

party doing business with Plaintiff.       While this allegation may

ultimately turn out to be correct, Defendant’s claim, when

considered in light of Defendant’s use of authorizations which

do not appear to have been issued for the purposes claimed,

their use of older authorizations after some authorizations had



     9
      It was an alteration to some code made by a Competentum
account that alerted WebAssign to the improper access in the
first place.

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been discontinued, and in light of the material accessed, is not

persuasive at this preliminary juncture.

       Relatedly, Defendant has filed with the court a contract

presently existing between Plaintiff and Cengage, and argues

that provisions in the contract further support Cengage, and

therefore Defendant’s authorization to access the trade secret

information.    While Defendant’s interpretation of the contract

may ultimately prove correct, this court does not preliminarily

read the contract so broadly as Defendant contends.

       B.   Irreparable Harm

       It further seems that, at least based on their claim for

Misappropriation of Trade Secrets, that Plaintiff will suffer

irreparable harm if injunctive relief is not granted.         While

Plaintiff must make a “clear showing” of immediate and

irreparable harm, the loss of permanent relationships with

customers and the loss of proprietary information may constitute

irreparable harm. See Philips Elecs. N. Am. Corp. v. Hope, 631

F. Supp. 2d 705, 711 (M.D.N.C. 2009). In most instances, courts

presume irreparable harm when a trade secret has been

misappropriated, see Merck & Co. v. Lyon, 941 F. Supp. 1443,

1455 (M.D.N.C. 1996), and North Carolina courts have explained

that



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     [M]isappropriation of a trade secret is an injury
     of “such continuous and frequent recurrence that
     no reasonable redress can be had in a court of
     law.” The very nature of a trade secret mandates
     that misappropriation will have significant and
     continuous long-term effects. The party wronged
     may forever lose its competitive business
     advantage or, at the least, a significant portion
     of its market share.

Barr-Mullin, 108 N.C. App. at 597.        It seems that all of these

concerns are present here.     Not only has Competentum apparently

taken proprietary information, at least some of it has been

published publicly.    Further, it appears that Competentum is in

the midst of developing a rival software suite that it plans on

launching in early 2016, and that it is doing so in concert with

an important client of WebAssign’s. (See Khvostova Decl., Ex. F

(Doc. 13-6); Decl. of Alex Bloom (Doc. 12) ¶¶ 8-22, 26-29, 31.)

The damage that could be done to WebAssign’s market share and

future prospects would be extremely difficult to quantify into a

dollar amount, and as such, this court finds that Plaintiff has

shown irreparable harm as to their trade secrets claim.10

     Defendant argues that Plaintiff has delayed in seeking

preliminary relief, and therefore a temporary restraining order



      It is unclear whether or not Plaintiff contends that they
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will suffer irreparable harm as to their other claims, and given
the degree to which the claims intertwine and are related to the
same set of operative fact, it is unnecessary to address each
individually.

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is not required.     Defendant contends Plaintiff was aware of

Defendant’s access as early as April, 2014, and certainly by

October, 2014.     Plaintiff responds that while it was aware of

the access, it initially contacted Defendant to determine what

had occurred and resolve the matter.      Plaintiff only recently

discovered that in November, 2014, when Defendant had claimed

any unauthorized access was inadvertent, it was at that same

time presenting information apparently derived from Plaintiff’s

trade secret information.     This court does not find Defendant’s

argument presently compelling.

    As an initial matter, it is not clear that Defendant has

shown or that WebAssign knew that a trade secret was taken or

used when the initial unauthorized access was discovered.         This

court, again preliminarily, finds that WebAssign’s discovery of

the nature of the access to its servers and potential use of any

information derived therefrom, only came later.

    The Fourth Circuit has addressed the issue of delay in

Candle Factory, Inc. v. Trade Assocs. Group, Ltd., explaining

that:

    [A]ny delay attributable to plaintiffs in initiating a
    preliminary injunction request, coupled with
    prejudicial impact from the delay, should be
    considered when the question of irreparable harm to
    plaintiffs is balanced against harm to defendants.
    [However, 4th Circuit precedent] simply does not


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    require us to find, as a matter of law, that the
    plaintiff suffered no irreparable injury because it
    delayed in initiating its request for a preliminary
    injunction.

23 F. App’x 134, at *3 (2001).

    C.   Balance of the Equities

    Although it is a close question, this court finds that the

balance of the equities also tips in WebAssign’s favor.         As

stated above, it seems clear that WebAssign will undergo

significant hardship if Competentum is not prevented from using

WebAssign’s trade secrets to launch a competing software suite

and likely steal a valuable client.

    At the very least, it is far less clear what harm will

befall Competentum by the issuance of a temporary injunction

until a preliminary injunction can be completed.        While

Competentum may be delayed in launching their software, there is

no evidence that time is of the essence in that endeavor, or

that they will lose any current business opportunities by the

issuance of a temporary injunction.

    Further, it should be noted that Competentum was approached

by WebAssign and given a chance to explain its actions before

the instant suit was filed.    The fact that they were either

unable or unwilling to do so further tips the balance of

equities in WebAssign’s favor.


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    D.      The Public Interest

    Finally, the public interest also favors WebAssign. “Put

simply, the public interest favors the protection of trade

secrets.”   Forestry Systems, Inc. v. Coyner, No. 1:11CV295, 2011

WL 1457707, at *2 (M.D.N.C.       Apr. 15, 2011).   The public

interest is also served by “preventing unethical business

behavior.” Philips Elecs., 631 F. Supp. 2d at 724. Finally, that

interest “disfavors allowing a competitor to drive another

competitor out of business by unfairly misappropriating trade

secrets.” Arminius Schleifmittel GmbH v. Design Indus., Inc.,

No. 1:06CV00644, 2007 WL 534573, at *7 (M.D.N.C. Feb. 15, 2007).

Here, an issuance of temporary injunctive relief is clearly in

the interest of the public given the likelihood of success on

the merits as to Plaintiff’s trade secrets claim.

III. CONCLUSION

    For the reasons described herein, this court finds that a

Temporary Restraining Order should be issued, returnable within

14 days of the date of this Memorandum Opinion and Order.

Because of the limited scope of this Memorandum Opinion and

Order and the limited time during which this Memorandum Opinion

and Order shall remain effective, this court finds that a bond

in the amount of $10,000.00 shall be sufficient.



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 This the 25th day of November, 2015.



                        _______________________________________
                              United States District Judge




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